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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 HASSAN A. TUCKER,                      :
                              Plaintiff :         No. 1:22-CV-0631
                                        :
                   v.                   :         Judge Mannion
                                        :
 WETZEL, et al.,                        :         Electronically Filed Document
                                        :
                                        :         Complaint Filed 04/29/22
                            Defendants :

                DEFENDANTS’ BRIEF IN OPPPOSITION TO
                  PLAINTIFF’S REQUEST TO REOPEN
                            DISCOVERY

      Defendants, by and through counsel, hereby submit the following brief in

opposition of Plaintiff’s request to reopen discovery.

                                              Respectfully submitted,

                                              DAVID W. SUNDAY, JR.
                                              Attorney General

                                       By:   s/ Samantha C. Whipple
                                             Samantha C. Whipple
Office of Attorney General                   Deputy Attorney General
15th Floor, Strawberry Square                Attorney ID 335573
Harrisburg, PA 17120
Phone: (717) 787-8106                        NICOLE R. DITOMO
                                             Chief Deputy Attorney General
swhipple@attorneygeneral.gov                 Civil Litigation Section

Date: January 23, 2025                       Counsel for Defendants
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 I.   INTRODUCTION

      In response to Plaintiff’s motion to reopen discovery on January 17, 2025 (Doc.

  60), Defendants write this brief in opposition to Plaintiff’s request in this matter.

      This matter has been pending since April 29, 2022 when Plaintiff first filed his

  Complaint. (Doc. 1) After Defendants’ motion to dismiss filed on August 10, 2022

  (Doc. 17), this Court granted in part, and denied in part that motion on January 19,

  2023. (Doc. 23) Defendants then filed Answer and Affirmative Defenses on

  August 4, 2023. (Doc. 31) Pursuant to Local Rule 26.4, “[i]n the absence of a

  discovery deadline set forth in a court order, each party to a civil action shall

  complete all discovery proceedings within six (6) months of the date of the last

  pleading filed by that party.” Moreover, this Court explicitly set an end date for

  discovery, November 30, 2023. (Doc. 28) Based upon this Court’s discovery end

  date, discovery concluded over four hundred (400) days ago.


II.   PROCEDURAL HISTORY AND RELEVANT STATEMENT OF FACTS

      Plaintiff, Hassan Tucker (“Tucker”) is a pro se Plaintiff, currently incarcerated

  by the Pennsylvania Department of Corrections (“DOC”), who commenced this §

  1983 action on April 29, 2022. (See Doc. 1) Following the disposition of Defendants’

  motion to dismiss, Eighth Amendment Cruel and Unusual Punishment claim against

  Defendants Wetzel and Little (“Supervisory Defendants”), Fourteenth Amendment

  Due Process claim against Supervisory Defendants, First Amendment Right to
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   Marry claim against Supervisory Defendants, and Eighth Amendment Excessive

   Force claim against Defendant Kimberley are the only surviving claims. (Doc. 23)


       On February 29, 2024, Defendants filed a Motion for Summary Judgment and

   Statement of Material Facts. (Docs. 37-38) The Court granted in part and denied in

   part Defendants’ Motion for Summary Judgement on July 15, 2024, leaving the sole

   surviving claim in this case, Eighth Amendment Deliberate Indifference. (Doc. 49-

   50) On September 3, 2024, counsel for Plaintiff entered her appearance. (Doc. 54)

   Plaintiff now attempts to reopen discovery, to which Defendants file this brief in

   opposition.


III.   ISSUES PRESENTED

            A. Whether Plaintiff’s request to reopen discovery should be denied
               because he has failed to provide “good cause”?

            B. Whether Plaintiff’s request to reopen discovery should be denied
               because it is untimely?

            C. Whether Plaintiff’s request to reopen discovery should be denied
               because the requests are irrelevant, overly broad, and cause undue
               delay?

   Suggested Answer: Yes.
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V.      ARGUMENT

        A. Plaintiff Has Not Shown Good Cause To Reopen Discovery

        First and foremost, in order alter a Court’s scheduling order, in this case, reopen

     discovery, Plaintiff needs to show “good cause.” Fed. R. Civ. Pro. 16(b)(4).

     Plaintiff has failed to establish such. Specifically, when determining to reopen

     discovery, the Court will look at three (3) factors, including “(1) whether the

     moving party's lack of diligence or the opposing party's conduct contributed to the

     delay; (2) potential prejudice caused by the discovery extension; and (3) any other

     factors the trial court, in its discretion, determines to be relevant.” Cramer v.

     Kerestes, No. 3:15-CV-1360, 2020 WL 1233630, at *2 (M.D. Pa. Mar. 13, 2020)

     Up until Plaintiff received counsel on September 3, 2024 (Doc. 54), Plaintiff had

     not requested any extension of discovery, or filed any motion to compel the

     discovery that is now being sought in this case.

        While Plaintiff asserts that he was “diligent” until his appointment of counsel

     (Doc. 60, pg. 4), such argument is insufficient to establish “good cause.” It has

     been well established that retaining counsel, alone, does not establish the “good

     cause” required to re-open discovery. Cramer v. Kerestes, No. 3:15-CV-1360,

     2020 WL 1233630, at *3 (M.D. Pa. Mar. 13, 2020); Trask v. Olin Corp., 298

     F.R.D. 244, 268 (W.D. Pa. 2014)(“Retaining new counsel, by itself, does not

     establish good cause.”) Therefore, the mere fact that Plaintiff has now retained
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counsel, or the fact that he was pro se prior to retention of counsel, is not sufficient

to show “good cause” for the reopening of discovery.

   B. Plaintiff’s Discovery Request Is Untimely

   Plaintiff’s request, now, to reopen discovery is untimely. “[W]here a party has

submitted an untimely discovery request, the court can, and in the exercise of its

discretion often should, refuse to compel compliance with that request.” See

Cramer v. Kerestes, 2020 WL 1233630, at *2 (M.D. Pa. March 13, 2020) (Carlson,

J.) (quoting Maslanka v. Johnson & Johnson, 305 F. App’x 848, 854 (3d Cir.

2008) (affirming denial of pro se litigant motion to compel where discovery

demands were untimely), and citing Oriakhi v. United States, 165 F. App’x 991,

994 (3d Cir. 2006) (same), and Bull v. United States, 143 F. App’x 468, 470 (3d

Cir. 2005) (same), and Njos v. United States, 2015 WL 5227838, at *2 (M.D. Pa.

Sept. 8, 2015). “Motions to compel discovery must be filed within the time

allowed for discovery itself.” Design Basics, LLC v. MTF Assoc., Inc., 2019 WL

1405290, at *6 (M.D. Pa. March 28, 2019) (Kane, J.)

   Discovery in this matter has been closed for approximately one year and one

month. During the period following the closure of discovery there was no concern

from Plaintiff in regards to discovery, until now. Notwithstanding that fatality,

Plaintiff retained counsel as early as September 3, 2024 (Doc. 54), and provides no

explanation as to this four (4) months delay in requesting discovery to be reopen.
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Thus, for this additional reason, Plaintiff again fails to establish “good cause” to

reopen discovery as the request is untimely.

   C. Plaintiff’s Discovery Requests Are Irrelevant, Overly Broad, And Create An
      Undue Delay In The Resolution Of This Case.

   Despite Plaintiff’s failure to establish good cause, and timely file such request,

this case is awaiting a trial scheduling date. Now in the beginning stages of

preparing for trial, any such additional discovery would now be unduly prejudicial

to Defendants and set this case back in time, pushing resolution of this matter even

farther. Klatch-Maynard v. Sugarloaf Twp., No. 3:06-CV-0845, 2011 WL

2006424, at *4 (M.D. Pa. May 23, 2011) (“Reopening discovery when trial is

imminent would disrupt the orderly and efficient trial of this already protracted

litigation.”). Additionally, the parties are required to exchange pretrial disclosures

pursuant to Federal Rule of Civil Procedure 26. As such, the parties will be

required to identify and produce any document it will use to support their case at

trial. Fed. R. Civ. P 26(3).

   While Plaintiff asserts that his discovery requests are “very narrow and

specific” (Doc. 60, at pg. 3), Defendants find that to be untrue according to the

actual requests presented in Plaintiff’s Exhibit A. (Doc. 60-1, Exh. A, pg. 8) As

such, Defendants discuss each of the ten (10) discovery requests in turn.
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Requests That Are Irrelevant Or Overly Broad

     The majority of Plaintiff’s requests pertain to the request of documents that are

either irrelevant to the narrow remaining claim against the Defendants, or, is overly

broad. In requests 2, 3, 4, 5, 6, 7, 8, and 10, Plaintiff requests documents that

concern his, cumulative adjustment record, records within his DC-15 file1,

Program Review Committee decisions and DC-141 documents, documents

involving the decision to place Plaintiff on the Intensive Management Unit (IMU),

documents involving reviews and decision forms regarding Plaintiff’s Restricted

Release List (RRL) placement, all Extraordinary Occurrence Reports Plaintiff

received during incarceration, Plaintiff’s Sentence Summary, and detailed

documents involving Plaintiff’s self-harm history. (Doc. 60-1, Exh. A, pg. 8) With

respect to these requests, they are irrelevant and overly broad for the purposes of

the Eighth Amendment Deliberate Indifference Claim against Defendants.

     First and foremost, these requests are not “narrow and specific” as Plaintiff

expresses in his brief, and are, in fact, quite broad and generalized. (Doc. 60, at pg.

3) Every single request specifies “all” before each request, not only does this

request sweep broadly, such production of “all” documents is irrelevant and



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  It should be noted that Plaintiff’s DC-15 alone would include hundreds of pages
of irrelevant documents such as, but not limited to: his sentence status summary,
work and quarters assignment record, pre-sentence investigations, and court
histories.
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cumulative in regards to the claim before this court. (Doc. 60-1, Exh. A, pg. 8)

Even more specifically, request 7 requests “all Extraordinary Occurrence Reports

involving Hassan Tucker during his incarceration in the PA DOC.” (Doc. 60-1,

Exh. A, pg. 8) Not only are all of these Extraordinary Occurrence Reports

irrelevant to the sole issue of Defendants alleged deliberate indifference to

Plaintiff’s placement on the RRL, such request is overly broad in that it requires

production for all the years that Plaintiff has been incarcerated.

   Secondly, such requests are “‘precisely the kinds of sweeping, generalized and

overly broad requests’ that are regularly rejected as, not only overly broad, but also

unduly infringing upon the privacy interests of other inmates who may have sought

to grieve unrelated issues that they had with staff.” Torres v. Harris, No. 4:17-cv-

1977, 2019 WL 265804 (M.D.Pa. Jan. 18, 2019); accord Williams v. Wetzel, No.

1:17-cv-79, 2019 WL 1206061 (M.D. Pa. Mar. 14, 2019); Allen v. Eckard, No.

1:17-cv-996, 2019 WL 1099001 (M.D.Pa. Mar. 8, 2019).”

   Defendants request that requests 2, 3, 4, 5, 6, 7, 8, and 10 be denied because

they are overly broad and irrelevant in this matter.

Requests That Are Cumulative

   Plaintiff requests documents that have already been produced. In request 1

Plaintiff requests “all documents referenced or relied upon in drafting Defendants’

Motion for Summary Judgment.” (Doc. 60-1, Exh. A, pg. 8) Defendants assert that
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this request is repetitive as Plaintiff’s counsel has already received the exhibits

Defendants submitted with their Motion for Summary Judgment. The fore

mentioned exhibits were produced via email on November 7, 2024. That

production included; a copy of the confidentiality agreement, an RRL vote sheet,

an April 27, 2020 roster, an April 28, 2020 roster, an April 29, 2020 roster, an

April 30, 2020 roster, and Plaintiff’s medical records. A true and correct copy of

this email, is attached hereto as Exhibit A.

   To the extent that counsel is requesting additional exhibits that were

“referenced or relied upon in drafting,” those documents are privileged documents

as attorney work product documents and are therefore, not recoverable.

“Ordinarily, a party may not discover documents and tangible things that are

prepared in anticipation of litigation or for trial by or for another party or its

representative. . .[b]ut, subject to Rule 26(b)(4), those materials may be discovered

if: (i) they are otherwise discoverable under Rule 26(b)(1); and (ii) the party shows

that it has substantial need for the materials to prepare its case and cannot, without

undue hardship, obtain their substantial equivalent by other means.” Fed. R. Civ. P.

26(b)(3)(A) Accordingly, Plaintiff has not shown a substantial need for the

documents Defendants used for “drafting” their motion for summary judgment, nor

has he shown that he would suffer an undue hardship to find the documents by

another route.
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   Additionally, in reference to Plaintiff’s request 6, “All documents pertaining to

any decision to place or retain Mr. Tucker on the Restricted Release List (RRL),

including initial placement vote sheets, decision forms, and any accompanying

security or psychological reviews, and all annual or other reviews of his RRL

status,” such documents regarding the vote sheets were produced to counsel in the

above- mentioned email on November 7, 2024. (See, Exh. A) As to the other

documents in this request, Defendants again assert that such documents are

irrelevant to the claim in this case as they have no probative value to Eighth

Amendment Deliberate Indifference claim against the Defendants.

   Defendants ask that request 1 and 6 be denied because such production would

be cumulative.

Request 9

   Plaintiff’s ninth request consists of “[a]ll policies, handbooks, procedures

manuals, or other directives pertaining to the administration of the IMU at SCI

Phoenix, including documents of general statewide applicability and any

documents specific to SCI Phoenix.” (Doc. 60-1, Exh. A, pg. 8) Defendants assert

that not only is this request is overly broad, despite Plaintiff’s statement in his

motion, it is not “very narrow and specific” (Doc. 60, at pg. 3), it is also irrelevant.

   In regards to the unspecific request Plaintiff asserts, the Department of

Corrections has dozens of policies, directives, handbooks, rules, and manuals.
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      Additionally, each of those documents potentially contain multiple pages, to the

      extent that counsel wants specific “policies, procedures, manual, or directives

      pertaining to the administration of the IMU at SCI Phoenix,” counsel would need

      to narrow the request to the specific information and policy that is being sought.

         Secondly, while this request is over broad, Defendants note that a production of

      these types of documents is unwarranted by Defendants, as counsel can retrieve

      any DOC policy on their own accord from the DOC website which can be found at

      LINK: https://www.pa.gov/agencies/cor/about-us/doc-policies.html.

         To the extent that counsel is unable to retrieve the specific request from the

      DOC’s website, Defendants’ would ask that if discovery were to be reopen, which

      Defendants strongly oppose, Plaintiff specify the policy or directive being sought

      and narrow the request. However, since this request is overly broad and can be

      retrieved by counsel, request 9 should be denied.

         Defendants ask that request 9 be denied because such request can be obtained

      through counsel’s own efforts.

VI.      CONCLUSION

         For the reasons contained in this brief, Defendants ask that this Court deny

      Plaintiff’s motion to reopen discovery as Plaintiff has failed to establish good

      cause, was untimely, and the requests presented are not only overly broad and
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irrelevant, but also cumulative. Should the Court determine that good cause has

been shown and discovery should be reopened, Defendants request that discovery

be reopened for both parties and that the parties be allowed to refile summary

judgment following the closure of the newly reopened discovery period.
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                                        :       Complaint Filed 04/29/22
                            Defendants :

                         CERTIFICATE OF SERVICE
      I, Samantha C. Whipple, Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on January 23,

2025, I caused to be served a true and correct copy of the foregoing document

titled Defendants’ Brief in Opposition to Plaintiff’s Request to Reopen Discovery

to the following:

 VIA ECF                               VIA ECF

 Nia Holston, Esq.                     Bret Grote, Esq.
 Abolitionist Law Center               Abolitionist Law Center
 990 Spring Garden Street              990 Spring Garden Street
 Philadelphia, PA 19123                Philadelphia, PA 19123
 Nia@alcenter.org                      bretgrote@abolitionistlawcenter.org
 Counsel for Plaintiff                 Counsel for Plaintiff

                                       s/ Samantha C. Whipple
                                      Samantha C. Whipple
                                      Deputy Attorney General
